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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


IN RE OPENAI, INC. COPYRIGHT
INFRINGEMENT LITIGATION                     Case No. 1:25-md-03143-SHS-OTW




RAW STORY MEDIA, INC., ALTERNET
MEDIA, INC.,                                Case No. 1:24-cv-01514-SHS-OTW

              Plaintiffs,

                 v.

OPENAI, INC., OPENAI GP, LLC, OPENAI,
LLC, OPENAI OPCO LLC, OPENAI GLOBAL
LLC, OAI CORPORATION, LLC, OPENAI
HOLDINGS, LLC,

                      Defendants.

        OPENAI’S MEMORANDUM OF LAW IN OPPOSITION TO
   PLAINTIFFS’ MOTION FOR RECONSIDERATION OF DISMISSAL AND
             DENIAL OF LEAVE TO AMEND COMPLAINT
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       I.      INTRODUCTION

       Plaintiffs have “not carried the heavy burden to warrant reconsideration.” In re Taneja,

No. 17-CV-942 (JGK), 2019 WL 1949839, at *1 (S.D.N.Y. April 19, 2019). The order at issue is

a final order, and Plaintiffs do not demonstrate the extraordinary circumstances required to revisit

it. Even under the less demanding standard governing non-final orders, Plaintiffs do not justify a

departure from the law of the case. And at any rate, there is no reason for reconsideration because

Plaintiffs lack Article III standing under this Court’s reasoning in the New York Times case: after

several tries, they still do not plausibly allege that OpenAI has “provide[d] plaintiffs’ works

directly to end users through regurgitating outputs.” N.Y. Times Co. v. Microsoft Corp., No. 23-

cv-11195 (SHS), 2025 WL 1009179, at *15 (S.D.N.Y. Apr. 4, 2025). Plaintiffs’ motion for

reconsideration should be denied.

       II.     BACKGROUND

       Plaintiffs allege that OpenAI “created copies of Plaintiffs’ works of journalism . . . and

included them in training sets used to train ChatGPT” with author, title, and copyright notice

information removed in violation of 17 U.S.C. § 1202(b)(1). ECF 1 ¶¶ 49–51. OpenAI moved to

dismiss the complaint on April 29, 2024. On November 7, 2024, the Court granted OpenAI’s

motion on Article III grounds. ECF 117 at 5. In dismissing Plaintiffs’ complaint, the Court

concluded that Plaintiffs’ asserted harm—i.e., “the unauthorized removal of CMI from their

copyrighted work”—was insufficiently concrete in light of Plaintiffs’ failure to “allege that a copy

of their work from which the CMI has been removed has been disseminated by ChatGPT to anyone

in response to any specific query.” ECF 117 at 6. The Court noted that Plaintiffs had not “alleged

any actual adverse effects stemming from this alleged DMCA violation.” Id. at 7.

       The Court allowed Plaintiffs to file a motion that attached the proposed pleading “together

with an explanation of why the proposed amendment would not be futile.” Id. at 1. Notably, the

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Court was “skeptical about Plaintiffs’ ability to allege a cognizable injury” but was “prepared to

consider” an amended pleading to the extent Plaintiffs could allege “a substantial risk that the

current version of ChatGPT will generate a response plagiarizing one of Plaintiffs’ articles.” Id.

at 8-10 (emphasis in original). On November 21, 2024, Plaintiffs filed such a motion. In its

Proposed First Amended Complaint (“PFAC”), Plaintiffs realleged the exact same harm the Court

already rejected—that OpenAI “injured Plaintiffs by removing CMI from tens of thousands of

Plaintiffs’ news articles.” See ECF 119 at 1, 119-1.

       On April 3, 2025, the Court once again found that “Plaintiffs assert[ed] the same injury in

their [PFAC] as they did in their initial complaint.” See ECF 137 at 2. The Court also rejected

Plaintiffs’ standing argument for injunctive relief, noting that “[i]nstead of adding new evidence

of any content output by ChatGPT that was plagiarized from Plaintiffs’ works, Plaintiffs have

amended their complaint to include the allegations of plagiarism made by other litigants in other

ongoing lawsuits against OpenAI.” Id. at 3-4 (emphasis added). The JPML then issued its transfer

order on the same day, centralizing the pending actions as In re OpenAI, Inc. Copyright

Infringement Litig., No. 1:25-md-03143-SHS (S.D.N.Y. April 3, 2025) (the “MDL”).

       III.    ARGUMENT

       Plaintiffs do not meet any applicable reconsideration standard. As an initial matter,

Plaintiffs have disregarded this District’s local rules governing motions for reconsideration. Nor

have Plaintiffs demonstrated the “exceptional circumstances” necessary to warrant “extraordinary

judicial relief” from a final order under Rule 60(b)(6). Nemaizer v. Baker, 793 F.2d 58, 61 (2d

Cir. 1986). Even if the order were non-final, Plaintiffs have failed to justify a departure from the

law of the case. Moreover, Plaintiffs still lack Article III standing because they have never

identified any regurgitation of any part of their works without CMI, unlike every other DMCA

plaintiff in the MDL. Accordingly, Plaintiffs’ motion fails.
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               A.      Plaintiffs’ motion disregards the local rules.

       Plaintiffs’ motion does not comply with Local Rule 6.3, which governs motions for

reconsideration in this District. Under that rule, a movant must “set[] forth concisely the matters

or controlling decisions which the moving party believes the court has overlooked.” Local Civ.

R. 6.3 (emphasis added); see also McGee v. Dunn, 940 F. Supp. 2d 93, 100 (S.D.N.Y. 2013)

(movant “must demonstrate that the Court overlooked controlling decisions or factual matters that

were put before it on the underlying motion” (emphasis added)). “The reason for the rule confining

reconsideration to matters that were ‘overlooked’ is to ensure the finality of decisions,” and to

prevent litigants from “taking a second bite at the apple.” In re Facebook, Inc., IPO Sec. and

Derivative Litig., 43 F. Supp. 3d 369, 373 (S.D.N.Y. 2014) (emphasis added). “[A] motion to

reargue, modify, or vacate a prior decision must comply with Local Civil Rule 6.3,” regardless of

how the motion is styled. Clinton v. Brown & Williamson Holdings, Inc., 652 F. Supp. 2d 528,

530 (S.D.N.Y. 2009); see also Argila v. Mach Group, Inc., 740 F. Sup. 3d 128, 132 (S.D.N.Y.

2024) (“A motion for reconsideration made after a final judgment is governed both by Federal

Rule of Civil Procedure 60(b) and by Local Civil Rule 6.3.”).

       Here, Plaintiffs do not identify any issue that was “overlooked.” Instead, Plaintiffs

continue to argue that they have standing for the exact same substantive reasons that the Court has

already twice considered and rejected. Compare, e.g., ECF 139-1 at 9 (arguing that Plaintiffs’

injury is analogous to property interference or unjust enrichment), with ECF 119 at 4-9 (arguing

that Plaintiffs’ injury is analogous to property interference or unjust enrichment) and ECF 70 at 6-

7 (arguing that Plaintiffs’ injury is analogous to property interference). Accordingly, their motion

should be denied.1


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 Plaintiffs’ motion may also be denied for the independent reason that it is untimely. Under Local
Rule 6.3, “a notice of motion for reconsideration must be served within 14 days after the entry of
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               B.      Plaintiffs do not meet the standard for reconsideration of a final order
                       under Rule 60(b)(6).

       Even if the Court excuses Plaintiffs’ noncompliance with Local Rule 6.3, their motion

separately fails because it does not “meet[] the demanding bar set for relief under Rule 60(b).”

Matter of Energetic Tank, Inc., No. 1:18-cv-1359 (PAC) (RWL), 2020 WL 978257, at *3 n.3

(S.D.N.Y. Feb. 28, 2020). Under that rule, “the court may relieve a party or its legal representative

from a final judgment, order, or proceeding.”           Fed. R. Civ. P. 60(b) (emphasis added).

Reconsideration under Rule 60(b), however, “is generally not favored and is properly granted only

upon a showing of exceptional circumstances.” U.S. v. Int’l Broth. of Teamsters, 247 F.3d 370,

391 (2d Cir. 2001).

                       1.      Rule 60(b)(6) governs.

       As an initial matter, Plaintiffs are wrong that Rule 54(b) governs their motion because

“final judgment has not yet [been] entered.” See ECF 139 at 6. Instead, as Plaintiffs acknowledge

in the alternative, Rule 60(b) governs because the order denying leave to amend was a final order

“that conclusively determines all pending claims of all the parties to the litigation, leaving nothing

for the court to do but execute its decision.” Petrello v. White, 533 F.3d 110, 113 (2d Cir. 2008);

see also Lopez v. Guziczek, No. 21-CV-10099 (NSR), 2025 WL 1122537, at *2 (S.D.N.Y. Apr.

16, 2025) (an order dismissing all claims with prejudice is a “final order”). Here, the order denying

leave to amend is final because it conclusively determined that Plaintiffs could not proceed with

any claim. See ECF 137 at 4. Accordingly, Rule 60(b) governs.




the court’s order being challenged.” Local Civ. R. 6.3. Here, Plaintiffs served their notice of
motion on April 18, 2025, 15 days after entry of the order denying leave to amend the complaint,
see ECF 137 (entered on April 3, 2025), and 162 days after entry of the order dismissing the
complaint without leave to amend, see ECF 117 (entered on November 7, 2024).
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                       2.      Plaintiffs do not meet the Rule 60(b)(6) standard.

       Plaintiffs have not made the “showing of exceptional circumstances” required to warrant

Rule 60(b)’s “extraordinary judicial relief.” Nemaizer, 793 F.2d at 61. Plaintiffs do not even

address this requirement in their motion, much less come close to meeting it.

       Plaintiffs’ reliance on In re Terrorist Attacks is misplaced, as that case involved truly

exceptional circumstances not present here. In that case, the Second Circuit explicitly found the

circumstances to be “extraordinary” due to the case’s decade-long procedural history and the risk

that denying relief would prevent the plaintiffs from obtaining any review of the district court’s

decision. See In re Terrorist Attacks on September 11, 2001 (Kingdom of Saudi Arabia)), 741

F.3d 353, 357 (2d Cir. 2013). This situation placed the plaintiffs in an “impossible bind” because

the Second Circuit had never addressed the district court’s underlying reasoning. Id. at 356.

       This is not the case here. Plaintiffs merely point to different results in a different case with

different operative pleadings, without identifying any special circumstances that warrant

reconsideration. A “mere disagreement with the district court’s underlying judgment does not

present extraordinary circumstances or extreme hardship.” United States v. Valles, No. 19 CR.

672 (JPC), 2024 WL 1433708, at *4 (S.D.N.Y. Apr. 3, 2024) (citing Green v. Phillips, 374 F.

App’x 86, 89 (2d Cir. 2010)). But disagreement with Judge McMahon’s decision is all Plaintiffs

have to offer.

       Plaintiffs are free to seek appellate review of the district court’s decision, but Rule 60(b)

“may not be used as a substitute for a timely appeal.” Advanced Analytics, Inc. v. Citigroup Global

Markets Inc., No. 04-CV-3531-LTS-SLC, 2022 WL 2529281, at *1 (S.D.N.Y. July 7, 2022)

(quoting Nemaizer, 792 F.2d at 61); see also United Airlines, Inc. v. Brien, 588 F.3d 158, 176 (2d

Cir. 2009) (“We have warned . . . that a Rule 60 motion may not be used as a substitute for appeal

and that a claim based on legal error alone is inadequate.”) (cleaned up). See ECF 137 at 3 (“[i]f
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Plaintiffs believe that I got it wrong, and that my esteemed colleague Judge Rakoff got it right,

then [a] motion [for reconsideration] is not the place to make that argument.”) (cleaned up).

                C.    Nor do Plaintiffs meet the standard for reconsideration of a non-final
                      order under Rule 54(b).

       Nor do Plaintiffs’ arguments satisfy the “strict standard for reconsideration of an

interlocutory decision under Rule 54(b),” Geo-Group Comm., Inc. v. Shah, No. 15 CIV. 1756

(KPF), 2020 WL 5743516, at *11 (S.D.N.Y. Sept. 25, 2020)—a standard that, while less

demanding than Rule 60(b)(6), still imposes a high bar that Plaintiffs have not met. The Second

Circuit has “limited district courts’ reconsideration of earlier decisions under Rule 54(b) by

treating those decisions as law of the case,” which means that they “may not usually be changed

unless there is an intervening change of controlling law, the availability of new evidence, or the

need to correct a clear error or prevent a manifest injustice.” Official Committee of Unsecured

Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2d Cir. 2003)

(cleaned up).

       Here, Plaintiffs’ motion does not identify any of those things. Instead, the only “changed

circumstance” is the recent transfer order and the corresponding reassignment to Judge Stein from

Judge McMahon. ECF 139-1 at 6. But “traditional principles of law of the case counsel against

the transferee court reevaluating the rulings of the transferor court.” Aequitron Medical, Inc. v.

CBS, Inc., No. 93 CIV. 950 (SS), 1994 WL 30414, at *6 (S.D.N.Y. Feb. 2, 1994).

       This is equally true after an MDL transfer. Indeed, the doctrine “is particularly applicable

to multidistrict litigation,” and there is no “apparent reason why the rule of the law of the case

should not be applied merely because a different judge has now been assigned to this litigation”

pursuant to a Section 1407 transfer. Philadelphia Housing Auth. v. Am. Radiator & Standard

Sanitary Corp., 323 F. Supp. 381, 383 (E.D. Pa. 1970). For example, in In re Pharmacy Benefit


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Managers Antitrust Litigation, the Third Circuit rejected an MDL transferee court’s

reconsideration of a transferor court’s prior order where the transferee court “did not rely on any

of the recognized exceptions to the law of the case doctrine.” 582 F.3d 432, 439 (3d Cir. 2009).

There, the court could “find nothing in the text of 28 U.S.C. § 1407 . . . that authorizes a transferee

judge to vacate or modify an order of a transferor judge” and explained that Congress did not

“intend[] that a ‘Return to Go’ card would be dealt to parties involved in MDL transfer.” Id. at

440-41.    Here, Plaintiffs’ motion similarly does not refer to any of the recognized bases for

deviating from the law of the case in the Second Circuit—an intervening change of controlling

law, new evidence, or a need to correct clear error or prevent manifest injustice. Thus, the MDL

transfer does not justify a departure from the law of the case and Plaintiffs’ motion under Rule

54(b) should be denied.2

       Plaintiffs do not identify a single case in which an MDL transfer served as an end-run

around the legal standard for reconsideration and warranted departure from the law of the case. In

re Grand Jury Proc. (Kluger) did not even involve an MDL; the quoted language appears in a

footnote distinguishing an out-of-circuit case, and at any rate is discussing which appellate court

has jurisdiction after centralization, not whether a standard for reconsideration is met. 827 F.2d

868, 871 n.3 (2d Cir. 1987).

       Pinney v. Nokia turned on the fact that the transferor court had denied a motion “without

prejudice and explicitly acknowledged that the [question of law] could be revisited later in the




2
  Plaintiffs also argue that they meet the Rule 54(b) standard because OpenAI is “judicially
estop[ped]” from “objecting to” the benefits of discovery efficiencies. ECF 139-1 at 8. But
OpenAI’s opposition is not based on the absence of some potential discovery efficiencies. Nor do
potential discovery (in)efficiencies begin to approach the kind of “manifest injustice” that would
be required under Rule 54(b).
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litigation.” 402 F.3d 430, 453 (4th Cir. 2005). Not so here, as Judge McMahon dismissed

Plaintiffs’ claims without leave to amend.

       Finally, in Degulis v. LXR Biotech., Inc., the transferee court “ha[d] before it motions to

dismiss in four of the other related actions, which involve[d] in large part the same facts and legal

issues.” 928 F. Supp. 1301, 1309 (S.D.N.Y. 1996). Here, by contrast, there are no pending

motions to dismiss before this Court.

       Because Plaintiffs “have not met the demanding standard required for reconsideration”

under Rule 54(b), Sec. and Exchange Comm. v. Amerindo Invest. Advisors Inc., No. 05-CV-5231

(RJS), 2015 WL 13678844, at *2 (S.D.N.Y. Feb. 3, 2015), their motion should be denied even

under that rule.

               D.      Plaintiffs do not have Article III standing because, unlike every other
                       DMCA plaintiff in the MDL, they have not plausibly alleged that
                       ChatGPT regurgitated their works.

       Unlike every other DMCA plaintiff in the MDL, and despite several chances to do so,

Plaintiffs here have not identified a single example of ChatGPT regurgitating their own works in

its outputs. See ECF 119-1 ¶¶ 63-78 (alleging regurgitation only of other plaintiffs’ works). For

example, in the New York Times case, this Court found that the other newspaper plaintiffs had

Article III standing because they had alleged harms “fairly traceable” to the “removal of CMI from

plaintiffs’ works”. 2025 WL 1009179, at *14 (emphasis added). Similarly, in The Intercept,

Judge Rakoff noted that the “Intercept’s data scientist was able to produce three regurgitations

from ChatGPT in response to detailed prompts,” which was enough to state a Section 1202(b)(1)

claim. The Intercept Media, Inc. v. OpenAI, Inc., No. 24-cv-1515 (JSR), 2025 WL 556019, at *8

(S.D.N.Y. Feb. 20, 2025).

       Here, because Plaintiffs have never identified any regurgitation, their allegation of harm is

insufficiently concrete to satisfy the injury-in-fact requirement. Unlike the plaintiffs in the other
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centralized cases, Plaintiffs here cannot plausibly allege that CMI “removal allows defendants to

provide plaintiffs’ works directly to end users through regurgitating outputs, while concealing that

defendants infringed plaintiffs’ copyrights to generate those outputs” because they do not allege

an instance of ChatGPT regurgitating their own works. New York Times, 2025 WL 1009179 at

*15.

        Plaintiffs have had ample opportunities to allege this harm. Judge McMahon explicitly

informed Plaintiffs of this deficiency and gave them an opportunity to correct it. See ECF 117 at

10 (“I am skeptical about Plaintiffs’ ability to allege a cognizable injury but, at least as to injunctive

relief, I am prepared to consider an amended pleading.”). Yet Plaintiffs still failed to identify any

regurgitation of their works in their proposed amended complaint. As Judge McMahon observed,

Plaintiffs “still do not plausibly allege that a copy of their work from which the CMI has actually

been removed has been disseminated by ChatGPT to anyone in response to any specific inquiry.”

ECF 137 at 2. Plaintiffs (again) could not allege regurgitation then—thereby failing to demonstrate

Article III standing—so there is no reason to believe they can do so now. The moving party cannot

use a motion for reconsideration as an opportunity to take a “second bite at the apple.” Analytical

Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (cleaned up). Here, Plaintiffs

failed at their second bite; this Court should not give them a third.

        IV.     CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ motion for reconsideration.




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                                           HOLDINGS, LLC


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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 6.3


       In accordance with Local Civil Rule 6.3, I certify that the foregoing Memorandum of Law

is 2913 words, exclusive of the caption page, table of contents, table of authorities, and signature

block. The basis of my knowledge is the word count feature of the word-processing system used

to prepare this memorandum.

 Dated: May 27, 2025                               by:   /s/ Joseph C. Gratz
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